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                IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT

SGCI Holdings III LLC, TEGNA Inc.,                        )
 and CMG Media Corporation,                               )
                                  Appellants,             )
                                                          )
                         v.                               )      No. 23-1083
                                                          )
Federal Communications Commission,                        )
                                 Appellee.                )

                         MOTION TO DISMISS

      The Federal Communications Commission respectfully moves to

dismiss this case for lack of jurisdiction. SGCI Holdings III LLC, TEGNA

Inc., and CMG Media Corporation (collectively, “appellants”) purport to

bring this appeal under section 402(b) of the Communications Act. But

section 402(b) provides for appeals only “from decisions and orders of the

Commission.” 47 U.S.C. § 402(b). In this case, there is no Commission

decision or order, and the order from which appellants seek to appeal is not

final in any event.

      Appellants seek review of an order issued on delegated authority by

the FCC’s Media Bureau: Consent to Transfer Control of Certain

Subsidiaries of TEGNA Inc. to SGCI Holdings III LLC, DA 23-149 (Med.

Bur. released Feb. 24, 2023) (“Hearing Designation Order”). See Notice of

Appeal, Exhibit A. Under section 402(b), however, a party may not appeal
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“directly to this Court from a decision made by a delegated authority.”

NTCH, Inc. v. FCC, 877 F.3d 408, 414 (D.C. Cir. 2017) (quoting

Environmentel, LLC v. FCC, 661 F.3d 80, 84 (D.C. Cir. 2011)). And even if

the Bureau’s Hearing Designation Order could fairly be attributed to the

Commission, it is not a final order subject to judicial review because it

neither “mark[s] the ‘consummation’ of the agency’s decisionmaking

process” nor determines any of appellants’ “legal rights or obligations.”

Bennett v. Spear, 520 U.S. 152, 178 (1997). Accordingly, the Court lacks

jurisdiction to hear this appeal, and the appeal should be dismissed.1

                              BACKGROUND

      Section 310(d) of the Communications Act requires that “when a

broadcast station owner wants to transfer ownership of a station to a third

party, the FCC must approve the assignment of the station’s broadcast

license to the new owner.” Stolz v. FCC, 882 F.3d 234, 236 (D.C. Cir.

2018). The Commission may approve such transfers of control or

assignments “only ‘upon finding … that the public interest, convenience,

and necessity will be served thereby.’” Ibid. (quoting 47 U.S.C. § 310(d)).



      1
         Concurrent with their notice of appeal (and perhaps recognizing its
jurisdictional infirmities), appellants have filed a conditional petition for
mandamus in No. 23-1084. See Notice of Appeal at 6. The Commission is
prepared to respond to that petition as directed by the Court.
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      Section 309 of the Act prescribes procedures for the FCC to review

applications for transfer of control or assignment and petitions to deny such

applications. If “a substantial and material question of fact is presented” by

an application and related pleadings “or the Commission for any reason is

unable to make the finding” that the proposed transfer of control or

assignment will serve the public interest, the Commission “shall formally

designate the application for hearing” to resolve those issues. 47 U.S.C.

§ 309(e).

      Appellants filed applications with the FCC seeking consent to transfer

control of several dozen broadcast television stations as part of a complex

merger transaction involving TEGNA, Standard General, and CMG Media

Corporation. Acting on delegated authority, the FCC’s Media Bureau

accepted the applications for filing and established a pleading cycle on April

21, 2022. See Public Notice, MB Docket No. 22-162, DA 22-443 (Med.

Bur. April 21, 2022).

      In June 2022, the Commission received two petitions to dismiss or

deny the applications.2 Both petitions asserted that grant of the applications

would not serve the public interest because the transactions would (1) result


      2
        One petition was filed by The NewsGuild-CWA and the National
Association of Broadcast Employees and Technicians-CWA (“CWA”). The
other was filed by Common Cause and United Church of Christ, OC, Inc.
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in higher subscription rates for multichannel video programming services

(such as cable service) due to increased retransmission consent fees

demanded by the broadcast stations and (2) undermine localism by leading

to reductions in local jobs and the amount and scope of local news coverage.

See Hearing Designation Order ¶ 12. In response to those and additional

concerns raised by other commenters, the Commission in September 2022

issued a second request for information from appellants. In October 2022,

CWA supplemented its petition to dismiss or deny. Ibid.

      Ultimately, appellants responded to the concerns that had been raised

in the proceeding by filing letters with the Commission that made

unsolicited commitments regarding retransmission consent fees and

reductions in local jobs after consummation of the transactions. On

December 23, 2022, the Media Bureau issued a public notice seeking

comment on these letters. Hearing Designation Order ¶ 14.

      Two months later, after reviewing the record, the Media Bureau

concluded that it was “unable to find” that the proposed transaction would

not likely cause above-market rates to be charged to subscribers to

multichannel video programming services. Hearing Designation Order

¶ 32. The Bureau also found that “substantial and material questions

remain” as to whether the proposed transactions could undermine “localism”


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through “reductions in local jobs.” Hearing Designation Order ¶ 3.

Accordingly, on February 24, 2023, the Bureau designated the applications

for hearing pursuant to 47 U.S.C. § 309(e) regarding the issues of

retransmission consent fees and localism. The issues designated for hearing

are:

       (a) Whether, in light of the record presented, retransmission consent
       fees will rise as a result of the Transactions, and if so, whether such an
       increase is the result of a properly functioning, competitive
       marketplace, or, alternatively, whether such rate increases would be
       the result of the unique structure of the Transactions in which the
       various assignments and/or transfers of control are closed sequentially
       in order to take advantage of after-acquired station clauses and
       maximize retransmission revenue, and further, whether such a result
       would be mitigated by the commitments offered by the Applicants;
       and
       (b) Whether, and to what extent, in light of the record presented, local
       content and programming in the affected communities would be
       adversely affected due to the proposed plans and commitments of
       SGCI Holdings for station-level staff; its intentions for investments in
       the stations; the potential financial pressures connected with the
       acquisition and ownership structure; and the potential effectiveness of
       the commitments offered by the Applicants.
Hearing Designation Order ¶ 51.

       On March 17, 2023, appellants filed an application for full

Commission review of the Bureau’s Hearing Designation Order. The

Commission has not yet acted on the application for review.3


       3
        Under FCC rules, “[a]pplications for review of an order designating
a matter for hearing that was issued under delegated authority shall be
deferred until exceptions to the initial decision in the case are filed, unless
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                                ARGUMENT

      The Court lacks jurisdiction over this appeal for two reasons. First,

the order on appeal is a Bureau order, not a Commission order, and 47

U.S.C. § 402(b) gives this Court jurisdiction only over “decisions and orders

of the Commission” in specified areas. Of particular relevance here, section

402(b)(3) grants jurisdiction in cases in which an application for transfer of

control or assignment of a license has been “denied by the Commission.” 47

U.S.C. § 402(b)(3) (emphasis added). Second, even if the order could be

attributed to the Commission, it does not constitute “final” agency action.

Consequently, this Court lacks jurisdiction over the appeal, and the case

should be dismissed.

      I. It is well settled that under 47 U.S.C. § 402(b), a party may not

appeal “directly to this Court from a decision made by” Commission staff

acting on “delegated authority.” NTCH, 877 F.3d at 414 (quoting

Environmentel, 661 F.3d at 84). Section 5(c)(7) of the Communications Act

states that “[t]he filing of an application for review” by the full Commission


the presiding officer certifies such an application for review to the
Commission.” 47 C.F.R. § 1.115(e)(1). The presiding officer in this case
(the Administrative Law Judge) declined to certify the application for review
to the Commission. See Consent to Transfer Control of Certain Subsidiaries
of TEGNA Inc. to SGCI Holdings III LLC, 2023 WL 2560036 (ALJ released
March 16, 2023). Appellants have petitioned for waiver of this rule. Their
waiver request is pending.
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“shall be a condition precedent to judicial review of any order, decision,

report, or action made or taken pursuant to” authority delegated by the

Commission. 47 U.S.C. § 155(c)(7); see Richman Bros. Records, Inc. v.

FCC, 124 F.3d 1302 (D.C. Cir. 1997). Section 5(c)(7) further provides that

“[t]he time within which a petition for review must be filed in a proceeding”

governed by 47 U.S.C. § 402(a), “or within which an appeal must be taken

under” 47 U.S.C. § 402(b), “shall be computed from the date upon which

public notice is given of orders disposing of all applications for review filed

in any case.” 47 U.S.C. § 155(c)(7).

      In applying this statute, this Court has “expressly [held] that a petition

for review filed after a bureau decision but before resolution by the full

Commission is subject to dismissal as incurably premature.” Int’l Telecard

Ass’n v. FCC, 166 F.3d 387, 388 (D.C. Cir. 1999). Likewise, the Court has

concluded that for purposes of section 5(c)(7), “the full FCC must have the

opportunity to review all cases and all aspects of those cases before parties

may exercise their statutory right to appeal to this Court under 47 U.S.C.

§ 402(b).” NTCH, 877 F.3d at 414 (quoting Environmentel, 661 F.3d at 84).

In short, an appeal filed pursuant to section 402(b) before the full

Commission rules on an application for review is incurably premature. This




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appeal suffers from that fatal defect, and it should be dismissed for that

reason alone.

       II. Even if the Hearing Designation Order could be considered an

order of the Commission, it still would not be subject to judicial review

because it does not constitute final agency action.

        As appellants acknowledge (Notice of Appeal at 4-5), agency action

is “final” (and therefore reviewable under the Administrative Procedure Act,

5 U.S.C. § 704) if it (1) “mark[s] the consummation of the agency’s

decisionmaking process” and (2) determines “rights or obligations” or

causes “legal consequences” to “flow.” Bennett, 520 U.S. at 177-78

(cleaned up). Because each of these requirements “must be satisfied

independently for agency action to be final, deficiency in either is sufficient”

to conclude that the challenged agency action is not final. Soundboard Ass’n

v. FTC, 888 F.3d 1261, 1267 (D.C. Cir. 2018). The order at issue here

satisfies neither of the prerequisites for finality.

       To begin with, the Hearing Designation Order does not “mark the

consummation of the agency’s decisionmaking process.” Bennett, 520 U.S.

at 178. It simply designates certain issues for hearing and further

examination. “By its terms,” the Hearing Designation Order did not contain

“a definitive statement of position” regarding appellants’ applications; it


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merely made “a threshold determination that further inquiry is warranted.”

FTC v. Standard Oil Co., 449 U.S. 232, 241 (1980). Moreover, no “legal

consequences flow” from the order; it does not establish any “rights or

obligations.” Bennett, 520 U.S. at 178. The order does not deny the

applications. Instead, it instructs the administrative law judge to make a

further inquiry into specific issues bearing on whether the public interest

would be served by the grant of the applications. Such “merely

investigatory” agency action is “not final agency action” because “the

agency has not yet made any determination or issued any order imposing

any obligation …, denying any right …, or fixing any legal relationship.”

Reliable Automatic Sprinkler Co. v. Consumer Product Safety Comm’n, 324

F.3d 726, 732 (D.C. Cir. 2003).

      Appellants maintain that the Commission’s failure to act on their

application for review of the Hearing Designation Order—an application

filed less than two weeks ago—“constitutes a ‘constructive denial’ of the

applications” for assignment. Notice of Appeal at 6 (quoting Friedman v.

FAA, 841 F.3d 537, 541-42 (D.C. Cir. 2016)). But there is no basis for

appellants’ assertion that the Commission “has made up its mind” to deny

those applications. Notice of Appeal at 5 (quoting Friedman, 841 F.3d at

543). The Media Bureau determined that the applications for assignment


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raise substantial and material issues of fact that cannot be resolved without a

hearing. The Bureau determined that it will not be in a position to conclude

whether granting those applications would serve the public interest until the

hearing is completed. Hearing Designation Order ¶ 2. Given the ongoing

review of appellants’ applications by FCC staff, appellants cannot credibly

claim that the Commission’s failure to act on the recently filed application

for review of the Hearing Designation Order is “tantamount to an order

denying” the applications for assignment. Notice of Appeal at 6 (quoting

Environmental Defense Fund, Inc. v. Hardin, 428 F.2d 1093, 1099 (D.C.

Cir. 1970)).4

      Appellants argue that the Hearing Designation Order amounts to an

“effective denial” of their assignment applications because the hearing

“cannot be completed before the financing underpinning the transaction

expires on May 22, 2023.” Notice of Appeal at 3. But that expiration date


      4
         Because the Commission has taken no definitive position on the
merits of the applications for assignment, this case is distinguishable from
the cases cited by appellants to support their claim that the Commission has
taken “final” action here. See Friedman, 841 F.3d at 543 (finding that “the
FAA has made up its mind”); Nat’l Ass’n of Home Builders v. U.S. Army
Corps of Engineers, 417 F.3d 1272, 1279 (D.C. Cir. 2005) (finding “nothing
‘tentative’ or ‘interlocutory’ about the issuance of permits” by the Army
Corps of Engineers); Her Majesty the Queen in Right of Ontario v. U.S.
EPA, 912 F.2d 1525, 1532 (D.C. Cir. 1990) (the EPA took “a definitive
position” that had “a direct and immediate impact on the parties”).

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was not set by the Commission. It is a deadline of appellants’ own making.

And appellants fail entirely to explain why that deadline cannot be revised or

renegotiated in light of the Hearing Designation Order. At this juncture,

any decision by appellants not to proceed with the proposed transaction

would be their own private business decision, not the result of a regulatory

directive from the agency.

      Appellants contend that the test for determining whether agency

action is final “is flexible and pragmatic.” Notice of Appeal at 5 (citing

Nat’l Ass’n of Home Builders, 417 F.3d at 1279). As this Court has

recognized, however, there are limits to the flexibility of the finality inquiry.

“A requirement that a party participate in additional administrative

proceedings”—e.g., by seeking and obtaining full Commission review of a

Bureau order before proceeding to court—“‘is different in kind and legal

effect from the burdens attending what heretofore has been considered to be

final agency action.’” Nat’l Ass’n of Home Builders, 417 F.3d at 1279

(quoting Standard Oil, 449 U.S. at 242). The Court explained that “‘the

doctrine of finality’ would be no more than ‘an empty box’ if the mere

denial of a procedural advantage constituted final agency action subject to

judicial review.” Ibid. (quoting ALCOA v. United States, 790 F.2d 938, 942




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(D.C. Cir. 1986)). The Hearing Designation Order is just the kind of

procedural order that does not constitute final agency action.

                              CONCLUSION

      By its terms, section 402(b) permits appeals only “from decisions and

orders of the Commission.” 47 U.S.C. § 402(b). There is no such decision

or order here. Instead, appellants ask the Court to review an order of a

subordinate bureau of the Commission designating their assignment

applications for hearing.

      In any event, this Court lacks jurisdiction over the Hearing

Designation Order because it does not constitute final Commission action.

That order simply initiates a process by which an administrative law judge is

to inquire into issues bearing on whether grant of appellants’ applications

would serve the public interest. See 47 U.S.C. § 310(d).

      Accordingly, the Court should dismiss this appeal for lack of

jurisdiction.




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                                 Respectfully submitted,


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March 29, 2023




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                 CERTIFICATE OF FILING AND SERVICE

      I, James M. Carr, hereby certify that on March ൬൳, ൬൪൬൭, I filed the foregoing

Motion to Dismiss with the Clerk of the Court for the United States Court of Appeals

for the District of Columbia Circuit using the electronic CM/ECF system.

Participants in the case who are registered CM/ECF users will be served by the

CM/ECF system.

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